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Diamond Select Toys & Collectibles, LLC                        Case No. 25-10312
Cash Receipts/Disbursements                                           Mar-25



                                                             Diamond Select
    Entity                                                      Toys, LLC
    Account Number                                                8307
    Currency                                                      USD

    Cash Receipts/Disbursements
    Beginning Balance                                    $          3,493.01

    Receipts
     Webstore Customer Payments                                    79,536.62
     Wholesale Customer Advances                                  135,000.00
    Total Receipts                                                214,536.62

    Disbursements
     Vendor Payments (Checks)                                     (17,652.08)
     Vendor Payments (ACH/Wire)                                   (98,280.68)
     Bank Fees                                                       (686.24)
     Payroll And Health Benefits                                  (94,083.62)
    Total Disbursements                                          (210,702.62)

    Ending Balances -Per Bank Statements                            7,327.01

    Deposits In Transit                                                  -
    Outstanding Checks                                                   -

    Totals                                                          7,327.01
